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October !2, 2017

VIA U.S, MAIL AND
E-MAIL —- OBROWN@BROWNGREER.COM

Orran Brown, Esquire
BrownGreer PLC

250 Rocketts Way
Richmond, Virginia 23231

Re: 9 NFL Players’ Concussion Injury Litigation; United States District
Court. Eastern District of Pennsylvania: No, 2:12-md-02323-AB

Dear Orran:

| wrote you on September 20, 2017, advising you we had filed some 139 Claims
Packages on behalf of seriously injured retired players. Of that saa: some 7! claims ha
been filed by our group before June 30, 2017, As we explained, some 33 of those 71 claims have
been pending review well beyond the established deadlines under the Amended Setlicment
Agreement. You may remember we spoke about these issue s after the hearing on September 19
and you expre ssed a willingness to review these matters so we could advise the players we
represent of what is ahead. Since September 20, even more of ‘the Claims Packages submitted by
our group have passed beyond the preseribed deadlines s and many more claims are about to cross
that threshold as well, Unfortunately. there has been no response to my written request of
September 20, 2017.

However, we did receive your Declarations of September 28 and Octover 4. 2017. ft
appears there have been 67 calls with Co-Lead Class Counsel and Counsel tor the NFL Partics to
deline the policies and procedures employed by Brown Greer. Regrontably, ve have len privy
to nothing that would aie why so many claims fled by our group have not been limely
Se Net one of our clients has received a penny in ite process that is working so

erfecily” according to ste Seeger, “Nor has there been reference to any Beucs es or procedures
amending’ the 45 day deadlines under the Amended Seulement Agreement ut the Claiths

Administrator Level or the AAP.

In the absence of any response or information addressing our specific concerns, we are
again requesting the status of the 7] ce in Packages we submitted before June 30, 2017. For
ease of reference. a list of the players who submitted those claims is attached he
understand it has been more than 100 ings since June 30, 2017. a
submitted well befure that date. As noted in more deiail below, at least 3.
have been cither deferred or remain unresolved well bevond the established processing dates.

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EXHIBIT

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Orran Brown, Esquire
October 12, 2017

27 of 71 Claims Remain Before the Claims Administrator Well Beyond the Deadline: 50
of the 71 Claim Packages submitted by the players before June 30 have not been sent to the
AAP. Of that 50, 12 have been audited and 11 received a deficiency notice. Accordingly, some
27 claims are still in pending with the Claims Administrator. It was our understanding Brown
Greer had 45 days under Paragraph 8.4 to make a determination. More than twice that time has
elapsed with no determination being made nor even an explanation about the status of the
pending and overdue claims.

6 of 21 Claims Remain Before the AAP Beyond the Deadline: 21 of the 71 claims we
submitted before June 30 have been forwarded to the AAP. However, 15 of those claims sent to

the AAP were audited. 6 claims have received no response and remain pending. The AAP
likewise has 45 days to make a determination. Assuming each package was at the Claims
Administrator for 45 days and we allow for another 45 days at the AAP, those six claims have
also been pending without any action, well beyond the prescribed deadlines.

Please understand our calculations are using June 30 as a submission date. In many
cases, the Claims Packages have been sitting in some kind of limbo for much longer than the
numbers described above. For instance, one claim now sitting at the AAP was submitted on May
19, 2017. Accounting for timely processing at the Claims Administrator level, this claim has
been pending before the AAP for some 110 days. The deadline is 45 days. In my last
correspondence, I understood your willingness to review the status of these claims. Again, I
have received no response. Nearly half of the claims we submitted before June 30 appear to
neglected or deferred from consideration beyond the deadline dates. We need to understand the
reason why so many of those claims remain pending well beyond the deadline for action.

My September 20, 2017, correspondence also advised you that only 2 claims of the 139
Claims Packages submitted by our group received a monetary award. Both of those claims were
subsequently challenged and sent for auditing. Your Declaration of October 4, 2017, however,
specifies that 104 monetary awards have been issued and some $67,802,846.00 has been paid to
players. We have obtained information from firms in Florida, Texas, Connecticut and
California. The law firms representing these players are not Class Counsel. Although a very few
players represented by these firms have received a notice of a monetary award, from the

information we received no player represented by non-Class Counsel has been paid. Why not?

Finally, there is a pending fee conflict between Class Counsel and lawyers representing
players who are not Class Counsel. Because it appears Class Counsel are helping to write the
rules for outside claims like those submitted by this firm, we need more information to
understand the process. Accordingly, of the $67,802,846.00, you reported was paid to players,
(1) how much of this amount was paid to Class Members who are not represented by Class
Counsel, (2) how much of this was paid to Class Members who submitted claims packages after
May 14, 2017, and (3) and how much of this was paid to Class Plaintiffs versus Class Members.

The apparent fee conflict between Class Counsel and Non-Class Counsel has raised other
concerns because non-Class Counsel have had no role in the establishment of the policies
governing the processing of these claims. We read your September 28 Declaration in response to
the Motion filed by X1Law, in particular the argument made by X]Law that the Claims
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Orran Brown, Esquire
October 12, 2017

Administrator effectively amended the Scttlement Agreement to include the requirement the
Third Party Affidavit must be dated on or before the date of the Qualifying Diagnosis. The
pleadings we filed with the Court addressed that issue as well.

As part of these 67 calls, your Declaration in Paragraph 13(b) states this requirement was
“reviewed with the Parties” to conclude “information obtained after the date could not have been
considered in reaching the proper diagnosis.” Appreciate our concern about this new
requirement and its rationale because the affidavit is supposed to be a “corroborating” affidavit.
Most people would generally understand that to corroborate is to strengthen or add weight to a
matter already set forth. Corroborating material should not be seen as a condition precedent as
the “corroborating” affidavit appears to have become. We represent players who had extensive
neuropsychological testing either before or about the same time these cases began in 2012.
These players could have submitted claims well before now but for the fact this corroborating

affidavit was transformed into a condition precedent.

Accordingly, we are requesting that you provide us with the date, the participants and
any minutes or other record where that issuc was discussed and decided.

If you have any questions, please do not hesitate to contact me at my office. We
appreciate your cooperation in this regard.

Sincerely,

C SKiire pbuh .

C. Steven Yerrid | Ss

Enclosure
